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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:02-cr-00043-MP-AK

JOCELYNN DENAY BANKS,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on a request by the United States Probation Office to

continue the disposition on the revocation of supervised release. A special condition of

Defendant’s supervised release was the completion of her G.E.D. Because Defendant is

currently in the process of finishing her G.E.D., Probation requests that the sentencing hearing

set for July 17, 2008, be continued. This request is granted, and the final hearing on the

revocation of supervised release is continued to a date to be set by separate notice. Until

sentencing, Defendant shall be subject to the same terms and conditions of supervised release as

previously imposed.


       DONE AND ORDERED this             10th day of July, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
